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[Dntchrg] [District Notice of Hearing]
                                         UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION



In re:                                                                        Case No. 6:23−bk−03094−TPG
                                                                              Chapter 13

Willie Gilliard III




________Debtor*________/

                                          NOTICE OF PRELIMINARY HEARING


               NOTICE IS GIVEN THAT:

           1. The Honorable Tiffany Geyer will conduct a preliminary hearing on the following matter on
           August 23, 2023, at 11:00 AM in Courtroom 6A, 6th Floor, George C. Young Courthouse, 400 West
           Washington Street, Orlando, FL 32801:

                Motion to Impose Automatic Stay (Document No. 8) filed by the debtor

           2. All parties may attend the hearing in person. Parties are directed to consult the Procedures
           Governing Court Appearances regarding the Court's policies and procedures for attendance at
           hearings by telephone available at www.flmb.uscourts.gov/judges/geyer/. Parties permitted to appear
           by telephone must arrange a telephonic appearance through Court Solutions
           (www.court−solutions.com) no later than 5:00 p.m. the business day preceding the hearing. NOTE:
           All parties should proceed to the website and select 'Sign Up'. For unrepresented parties only, before
           submitting the completed form, you must select 'I am not an attorney' and 'Certified Indigent'. Once
           the information is submitted you will receive an email with further instructions.
           3. Any party opposing the relief sought at this hearing must appear at the hearing or any objections or
           defenses may be deemed waived.

           4. The Court may continue this matter upon announcement made in open court without further notice.

           5. Avoid delays. A photo ID is required for entry into the Courthouse. Local Rule 5073−1 restricts
           the entry of cellular telephones and, except in Orlando, computers into the Courthouse absent a
           specific order of authorization issued beforehand by the presiding judge, a valid Florida Bar
           identification card, or pro hac vice order.




                                                FOR THE COURT
           Dated: August 3, 2023                Sheryl L. Loesch , Clerk of Court
                                                George C. Young Federal Courthouse
                                                400 West Washington Street.
                                                Suite 5100
                                                Orlando, FL 32801
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The Clerk's office is directed to serve a copy of this notice on interested parties.
*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
